
702 S.E.2d 491 (2010)
STATE of North Carolina
v.
Mervin Verron ARMSTRONG.
No. 188P10.
Supreme Court of North Carolina.
October 7, 2010.
Daniel R. Pollitt, Assistant Appellate Defender, for Mervin Verron Armstrong.
Jess Mekeel, Assistant Attorney General, for State of NC.
Prior report: ___ N.C.App. ___, 691 S.E.2d 433.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant-Appellant on the 5th of May 2010 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the State, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Dismissed by order of the Court in conference, this the 7th of October 2010."
Upon consideration of the petition filed on the 5th of May 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
*492 "Denied by order of the Court; in conference, this the 7th of October 2010."
